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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LETTUCE ENTERTAIN YOU ENTERPRISES,                    Case No. 1:20-cv-05140
INC, et al.,
                                                      Honorable Robert M. Dow Jr.
                      Plaintiffs,

       vs.

EMPLOYERS INSURANCE COMPANY OF
WAUSAU, et al.,

                      Defendants.


                                      STATUS REPORT

Pursuant to the Court’s Minute Entry on September 9, 2020 (Dkt. 100), the parties have met and
conferred with the goal of submitting an agreed briefing schedule for pending motions to transfer
(Dkt. 7), motions to sever (Dkts. 19, 67), motions to dismiss (Dkts. 55, 72), and Plaintiffs’
forthcoming motion to remand.

As reflected below, Plaintiffs and 11 Defendants have been able to reach agreement on a
proposed schedule for briefing the pending and/or forthcoming motions to sever and Plaintiffs’
forthcoming motion to remand. Two Defendants do not agree to that proposed schedule, and 6
Defendants affirmatively take no position.

As reflected below, Plaintiffs and 13 Defendants have agreed on a proposed schedule for briefing
the pending motion to transfer and motions to dismiss. Six Defendants affirmatively take no
position.

Briefing on Plaintiffs’ Forthcoming Motion to Remand / Defendants’ Pending and/or
Forthcoming Motions to Sever

Plaintiffs and Defendants Zurich American Insurance Company, Secura Supreme Insurance
Company, Citizens Insurance Company of America, Society Insurance, Employers Insurance
Company of Wausau, Ohio Security Insurance Company, Affiliated FM Insurance Company,
Badger Mutual Insurance Company, Charter Oak Fire Insurance Company, Cincinnati Insurance
Company, Vigilant Insurance Company agree as follows:

   September 15: All Defendants that wish to move to sever shall file their motions or joinders.
   September 18: Plaintiffs file motion to remand and file a separate opposition to the motions
    to sever.
    o Plaintiffs request permission to file a memorandum of law in support of their motion to
        remand of up to 25 pages. Defendants noted above do not oppose Plaintiffs’ request.


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 October 9: Defendants file joint opposition to motion to remand, and a separate joint reply in
  support of motions to sever.
  o Defendants request permission to file a joint opposition to Plaintiffs’ motion to remand of
     up to 25 pages. Plaintiffs do not oppose Defendants’ request.
  o Defendants request permission to file a joint reply in support of their motions to sever of
     up to 15 pages. Plaintiffs do not oppose Defendants’ request.
  o Defendants reserve the right to file separate oppositions and replies if they believe it is
     warranted and non-duplicative.
  o Any separate opposition or reply shall only address issues not covered in Defendants’
     joint opposition or reply, and shall be limited to 5 pages.
o October 16: Plaintiffs file reply in support of motion to remand.
  o Plaintiffs reserve the right to seek additional pages for their reply, depending on the
     number and length of Defendants’ submissions.

The following 8 Defendants do not agree to the proposed schedule above.
   o Defendants Argonaut Great Central Insurance Company, Illinois Casualty Company,
       Hartford Fire Insurance Company, Twin City Fire Insurance Company, Sentinel
       Insurance Company and Specialty Risk of America take no position on the pending or
       forthcoming motions.
    o Defendant Starr Surplus Lines Insurance Company agrees that if Plaintiffs file a motion
      to remand by September 18, Starr will file its own opposition on or before October 9.
      Starr reserves the right to file a motion to sever at a later date.
    o Defendant North American Elite Insurance Company (“NAEIC”) agrees with the
      proposed schedule dates. In addition, NAEIC will file its motion to sever and motion to
      dismiss pursuant to forum non conveniens on September 18, with a memorandum of law
      of up to 25 pages, as set forth in the Court’s Minute Entry on September 9, 2020 (Dkt.
      100). On October 9, NAEIC will join the opposition to motion to remand or file a
      separate opposition, as outlined above, and Plaintiff will file its opposition to NAEIC’s
      motion to sever and dismiss pursuant to forum non conveniens. On October 16, NAEIC
      will file its reply in support of motion to sever and dismiss pursuant to forum non
      conveniens.

Briefing on Pending Motion to Transfer

Plaintiffs and Defendant Starr agree that briefing on Starr’s pending motion to transfer (Dkt. 7)
should proceed as follows:

       Plaintiff’s response to motion to transfer: due by no later than 14 days after the Court’s
        ruling on the motion to remand
       Starr’s reply in support of the motion to transfer: due by no later than 7 days after
        Plaintiffs’ opposition is filed.


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All other Defendants take no position on the briefing on Starr’s motion to transfer.

Briefing on Pending Motions to Dismiss

As set forth in the Court’s Minute Entry on September 9, 2020 (Dkt. 100), the motions to dismiss
[55, 72] are entered and continued generally.


Dated: September 14, 2020                            Respectfully submitted,


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